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                                      No. 21-3831

                 In the United States Court of Appeals
                         for the Eighth Circuit
                                      ___________

                         IN RE: SELF INSURED SERVICES,
                                                Interested Party-Appellant.
                                   ___________

                     SOUTH BROWARD HOSPITAL DISTRICT,
                                             Plaintiff-Appellee,
                                   v.

                          ELAP SERVICES, LLC, AND
                   GROUP & PENSION ADMINISTRATORS, INC.,
                                                  Defendants.
                                ___________

                ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF IOWA
                                 ___________

     PLAINTIFF-APPELLEE’S MOTION TO DISMISS APPEAL FOR LACK
              OF JURISDICTION AND TO STAY BRIEFING
                           ___________


    STEPHANIE G. TECHAU                       TAL J. LIFSHITZ
    ETHAN S. OLSON                            ERIC S. KAY
    NYMASTER GOODE, P.C.                      KOZYAK TROPIN &
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              MOTION TO DISMISS FOR LACK OF JURISDICTION
                        AND TO STAY BRIEFING

         Pursuant to Federal Rule of Appellate Procedure 27(a) and Eighth Circuit

   Rule of Appellate Procedure 47A(b), Plaintiff-Appellee South Broward Hospital

   District, d/b/a Memorial Healthcare System (“Memorial”), moves to dismiss this

   appeal for lack of jurisdiction. Memorial also moves to stay briefing pending

   disposition of the jurisdictional issue presented in this Motion.

                                    INTRODUCTION

         The Court lacks jurisdiction to hear this appeal from a discovery order of the

   United States District Court for the Northern District of Iowa. Appellee Self Insured

   Services Co. (“SISCO”) initiated the proceedings below by filing a motion to quash

   a non-party subpoena that Memorial issued to SISCO to produce documents for use

   in a class action lawsuit pending in the United States District Court for the Southern

   District of Florida. On December 7, 2021, the Northern District of Iowa transferred

   SISCO’s motion to quash to the Southern District of Florida. See Transfer Order at

   3 (Exhibit A at 5-8). SISCO now appeals that order.

         For two reasons, SISCO’s appeal should be dismissed for lack of jurisdiction.

   First, this Court was divested of jurisdiction of this matter when the Southern District

   of Florida received the Northern District of Iowa’s Transfer Order and case file. And

   second, the Transfer Order is a non-final discovery order not subject to immediate

   appellate review.

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                                     BACKGROUND

         This appeal stems from a third-party discovery proceeding initiated in the

   Northern District of Iowa by SISCO seeking to quash a subpoena that Memorial

   issued to SISCO to produce documents for use in a class action lawsuit currently

   pending in the Southern District of Florida. S. Broward Hosp. Dist. v. ELAP Servs.,

   LLC, No. 20-cv-61007-SINGHAL/VALLE (S.D. Fla). The Florida class action

   concerns an unfair and deceptive scheme designed by Defendants ELAP Services,

   LLC and Group & Pension Administrators, Inc. to steal tens of millions of dollars

   off the backs of hospitals and healthcare facilities. Working together, Defendants

   systematically underpay healthcare providers in Florida and around the country

   through ELAP’s arbitrary, uniform, and unilateral use of a healthcare claim

   reimbursement model known as “Reference Based Pricing”—which pays providers

   a fraction of the reasonable value of their services.

         On December 3, 2021, the Southern District of Florida declined to dismiss

   Memorial’s case or strike Memorial’s class allegations. S. Broward Hosp. Dist. v.

   ELAP Servs., LLC, 2020 WL 7074645 (S.D. Fla. Dec. 3, 2020). The parties are now

   engaged in extensive discovery. Through discovery, Memorial learned from

   Defendants that medical denial codes and detailed claims payment information, both

   of which are relevant to identifying class members and formulating a damages

   model, were in the exclusive possession of various third-party administrators—like


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   SISCO—that are affiliated with ELAP. So Memorial served narrowly targeted

   subpoenas on each of these administrators, including SISCO, requesting a report that

   includes this critical information.

         On September 16, 2021, SISCO filed a motion to quash in the Northern

   District of Iowa seeking to avoid compliance with the subpoena. In response,

   Memorial moved to transfer SISCO’s motion to quash to the Southern District of

   Florida pursuant to Federal Rule of Civil Procedure 45(f), which provides that,

   “[w]hen the court where compliance is required did not issue the subpoena, it may

   transfer a motion . . . to the issuing court . . . if the court finds exceptional

   circumstances.”1

         On December 7, 2021, the Northern District of Iowa issued an order

   transferring SISCO’s motion to quash to the Southern District of Florida. See Ex. A.




         1
            SISCO is one of five third-party administrators that are presently litigating
   motions to quash subpoenas issued by Memorial in the underlying Florida class
   action. Memorial filed motions to transfer to the Southern District of Florida each of
   the motions to quash. On December 22, 2021, the Eastern District of New York
   transferred the motion to quash filed in that court to the Southern District of Florida.
   See Am. Plan Adm’rs v. S. Broward Hosp. Dist., 2021 WL 6064845 (E.D.N.Y. Dec.
   22, 2021). Motions to quash and Memorial’s corresponding motions to transfer are
   currently pending in the District of Utah, the District of Montana, and the Northern
   District of Illinois. See MBA Benefit Adm’rs v. S. Broward Hosp. Dist., No. 21-mc-
   677 (D. Utah); In re Subpoena of S. Broward Hosp. Dist., No. 21-mc-9 (D. Mont.);
   In re Subpoena of S. Broward Hosp. Dist. Litig. Subpoena Issued to Trustmark
   Health Benefits Inc., No. 21-cv-4929 (N.D. Ill.).

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   at 5-8. SISCO appealed the Transfer Order three days later. Id. at 10. This Court

   docketed SISCO’s appeal on December 13, 2021.

                                       ARGUMENT

           The Court Should Dismiss This Appeal For Lack Of Jurisdiction

           A.    The Southern District Of Florida’s Physical Receipt Of The
                 Northern District Of Iowa’s Transfer Order And Case File
                 Prior To This Appeal Divested This Court Of Jurisdiction

           This Court was divested of jurisdiction over this matter when the Southern

   District of Florida received the Northern District of Iowa’s Transfer Order and case

   file.

           This Court “generally do[es] not exercise jurisdiction over transfer orders.”

   Midwest Motor Exp., Inc. v. Cent. States Se., 70 F.3d 1014, 1016 (8th Cir. 1995).

   For example, in the context of venue transfers under 28 U.S.C. § 1404, “[i]t is well

   established that the transferor court under § 1404 loses all jurisdiction over a case

   once transfer has occurred.” In re Flight Transp. Corp. Secs. Litig., 764 F.2d 515,

   516 (8th Cir. 1985) (citing In re Nine Mile Ltd., 673 F.2d 242, 243 (8th Cir. 1982));

   see Emerson Elec. Co. v. Black & Decker Mfg. Co., 606 F.2d 234, 237 (8th Cir.

   1979) (“Ordinarily, no appeal can be taken from district court orders on transfers

   between districts pursuant to [§] 1404(a) . . . .”); see also 15 Wright, Miller, & Freer,

   Federal Practice & Procedure § 3846 n.1 (4th ed.). This Court has consistently



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   “‘take[n] the view that the physical receipt of the file in the transferee court is the

   event that signals the end of jurisdiction in the transferor court.’” Integrated Health

   Servs. of Cliff Manor, Inc. v. THCI Co., 417 F.3d 953, 957 (8th Cir. 2005) (quoting

   Midwest Motor Exp., 70 F.3d at 1016). Thus, “when a case file is physically

   transferred to another court, it divests [this Court] of jurisdiction.” Id. (citing In re

   Nine Mile Ltd., 673 F.2d at 244).

         These principles—which should apply with equal force in the context of

   transfers of subpoena-related motions under Federal Rule of Civil Procedure 45(f)—

   require dismissal of this appeal. The Northern District of Iowa issued its Transfer

   Order on December 7, 2021. Ex. A at 3-8. The Northern District of Iowa’s Transfer

   Order and case—which comprise the complete case file in the proceedings below—

   were electronically transferred to and received by the Southern District of Florida

   that same day. Id. at 9; Ex. B (ECF No. 16 in S. Broward Hosp. Dist. v. ELAP Servs,

   LLC, No. 21-mc-62463 (S.D. Fla.)). SISCO did not seek a stay of the Northern

   District of Iowa’s transfer. Nor did SISCO take any other action to preserve the

   Northern District of Iowa’s jurisdiction before appealing the Transfer Order to this

   Court on December 10, 2021.




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           Accordingly, because the Northern District of Iowa was divested of

    jurisdiction on December 7—three days before SISCO filed its notice of appeal—

    this Court lacks jurisdiction, and the appeal should be dismissed.

           B.     The Northern District Of Iowa’s Transfer Order Is A Non-
                  Final, Non-Appealable Discovery Order

           This Court also lacks jurisdiction because the Northern District of Iowa’s

    Transfer Order is a non-final, non-appealable discovery order.

           “In general, courts of appeals ‘have jurisdiction of appeals from all final

    decisions of the district courts of the United States.’” Jensen v. Minn. Dep’t of

    Human Servs., 897 F.3d 908, 912 (8th Cir. 2018) (quoting 28 U.S.C. § 1291).

    “[O]rdinarily discovery orders in pending cases are interlocutory and not subject to

    immediate appeal.” Miscellaneous Docket Matter No. 1 v. Miscellaneous Docket

    Matter No. 2, 197 F.3d 922, 925 (8th Cir. 1999). Thus, appellate review of pretrial

    discovery orders is “‘generally denied.’” Mohawk Indus., Inc. v. Carpenter, 558 U.S.

    100, 108 (2009); see also 15B Wright, Miller, & Cooper, Federal Practice &

    Procedure § 3914.23 (2d ed.) (“[T]he rule remains settled that most discovery

    rulings are not final.”).

           Nor does any exception to the finality rule apply to district court orders

    transferring a motion to quash when the issuing court overseeing the underlying



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    litigation is located outside of the Eighth Circuit. To be sure, the Court has

    recognized that the collateral order doctrine at times permits review of orders

    stemming from ancillary discovery proceedings involving orders quashing

    subpoenas issued to a non-party to an underlying action pending in a district court

    outside of the Eighth Circuit. See PepsiCo, Inc. v. Baird, Kurtz & Dobson LLP, 305

    F.3d 813, 815 (8th Cir. 2002); Miscellaneous Docket Matter No. 1, 197 F.3d at 925.

    But unlike orders denying non-party discovery in such ancillary proceedings, this

    Court “generally do[es] not exercise jurisdiction over transfer orders.” Midwest

    Motor Exp., 70 F.3d at 1016; see, e.g., U.S. Fire Ins. Co. v. Am. Fam. Life Assurance

    Co. of Columbus, 787 F.2d 438, 439 (8th Cir. 1986). And the Court has not

    recognized an exception to this rule for orders transferring motions filed in ancillary

    discovery proceedings by a nonparty to underlying litigation outside of the Eighth

    Circuit.

          Consequently, the Northern District of Iowa’s Transfer Order is a non-final,

    non-appealable order that this Court lacks jurisdiction to review.

                                      CONCLUSION

          For the foregoing reasons, the Court should dismiss this appeal for lack of

    jurisdiction. Memorial also requests that the Court stay briefing pending disposition

    of the jurisdictional issue presented by this Motion.


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     Dated: December 27, 2021                     Respectfully submitted,

                                                  /s/ Tal J. Lifshitz
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     ETHAN S. OLSON                               ERIC S. KAY
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                             CERTIFICATE OF SERVICE

          I hereby certify that on December 27, 2021, I electronically filed the foregoing

    with the Clerk of the Court for the United States Court of Appeals for the Eighth

    Circuit by using the CM/ECF system. I certify that all participants in the case are

    registered CM/ECF users and that service will be accomplished by the CM/ECF

    system.

                                                             /s/ Tal J. Lifshitz
                                                               Tal J. Lifshitz

                                                  Counsel for Plaintiff-Appellee




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                          CERTIFICATE OF COMPLIANCE

          I certify that this document complies with the typeface requirements of

    Federal Rule of Appellate Procedure 32(a)(5)(A) and the type-style requirements of

    Federal Rule of Appellate Procedure 32(a)(6), because this document has been

    prepared in a proportionally spaced typeface using Microsoft Word in 14-point

    Times New Roman font. I further certify that this document complies with the word

    limit of Federal Rule of Appellate Procedure 27(d)(2)(a) because, excluding the parts

    of the document exempted by Federal Rule of Appellate Procedure 32(f), this

    document contains 1,604 words.

                                                            /s/ Tal J. Lifshitz
                                                              Tal J. Lifshitz

                                                  Counsel for Plaintiff-Appellee




                                             10
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                   EXHIBIT A




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                                                                        APPEAL,CLOSED,PHV,TRANSFER
                                    U.S. District Court
                          Northern District of Iowa (Cedar Rapids)
                     CIVIL DOCKET FOR CASE #: 1:21−mc−00005−KEM
                                     Internal Use Only

      South Broward Hospital District v. ELAP Services, LLC et al   Date Filed: 09/14/2021
      Assigned to: Chief Magistrate Judge Kelly K.E. Mahoney        Date Terminated: 12/07/2021
      Case in other court: USDC Southern District of Florida,
                           20−cv−61007−AHS
      Interested Party
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                                                                    Stephanie Glenn Techau
                                                                    Nyemaster Goode PC


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      V.
      Defendant
      ELAP Services, LLC
      a Pennsylvania limited liability company

      Defendant
      Group & Pension Administrators, Inc
      a Texas corporation


       Date Filed      #   Page Docket Text
       09/14/2021                FEE Receipt: $49.00, receipt number IAN110030142 for Miscellaneous Case
                                 Filing Fee by Self Insured Services Company. (pac) (Entered: 09/14/2021)
       09/14/2021      1         MOTION to Quash by Interested Party Self Insured Services Company.
                                 (Attachments: # 1 Brief, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5
                                 Certificate of Service) (pac) (Entered: 09/14/2021)
       09/15/2021      2         ORDER re 1 MOTION to Quash filed by Self Insured Services Company:
                                 Responses due by 9/20/2021. Signed by Chief Magistrate Judge Kelly K.E.
                                 Mahoney on 9/15/2021. (Emailed to counsel listed in the order) (pac) (Entered:
                                 09/15/2021)
       09/17/2021      3         NOTICE of Appearance by Ethan S Olson on behalf of South Broward Hospital
                                 District. (Olson, Ethan) (Entered: 09/17/2021)
       09/17/2021      4         NOTICE of Appearance by Stephanie Glenn Techau on behalf of South
                                 Broward Hospital District. (Techau, Stephanie) (Entered: 09/17/2021)
       09/17/2021      5         UNRESISTED Motion for Extension of Deadline to Respond to Motion to
                                 Quash Subpoena by Plaintiff South Broward Hospital District (Techau,
                                 Stephanie) (Entered: 09/17/2021)



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      09/20/2021   6      ORDER granting 5 UNRESISTED Motion for Extension of Deadline to
                          Respond to 1 Motion to Quash Subpoena: Any response to the motion to quash
                          (Doc. 1) must be filed by October 20, 2021. Signed by Chief Magistrate Judge
                          Kelly K.E. Mahoney on 9/20/2021 (copy emailed to attys listed in 2 Order).
                          (skm) (Entered: 09/20/2021)
      10/06/2021   8      MOTION for Leave to Appear Pro Hac Vice for Attorney Dean Hafeez Malik (
                          Pro Hac Vice Fee $ 100 receipt number AIANDC−3544660) by Interested
                          Party Self Insured Services Company (Attachments: # 1 Certificate of Good
                          Standing) (Wolle, Thomas) (Entered: 10/06/2021)
      10/06/2021   9      MOTION for Leave to Appear Pro Hac Vice for Attorney Patrick C Timoney (
                          Pro Hac Vice Fee $ 100 receipt number AIANDC−3544681) by Interested
                          Party Self Insured Services Company (Attachments: # 1 Certificate of Good
                          Standing) (Wolle, Thomas) (Entered: 10/06/2021)
      10/07/2021   10     *TEXT ORDER ONLY* granting 8 MOTION for Leave to Appear Pro Hac
                          Vice for Attorney Dean Hafeez Malik (Pro Hac Vice Fee $100 receipt number
                          AIANDC−3544660) and 9 MOTION for Leave to Appear Pro Hac Vice for
                          Attorney Patrick C Timoney (Pro Hac Vice Fee $100 receipt number
                          AIANDC−3544681): Upon review of the motions and certificates of good
                          standing, the court finds the motions should be granted. It is so ordered that
                          Attorneys Dean H Malik and Patrick C Timoney are authorized to appear on
                          behalf of Interested Party Self Insured Services Company (Mr Malik and Mr
                          Timoney must register for e−filing with the Northern District of Iowa by
                          10/21/2021). Signed by Clerk on 10/7/2021. (pac) (Entered: 10/07/2021)
      10/20/2021   11     MOTION to Transfer Self Insured Services Company's Motion to Quash to the
                          Southern District of Florida re 1 MOTION to Quash by Plaintiff South Broward
                          Hospital District (Attachments: # 1 Brief in Support of Motion to Transfer, # 2
                          Exhibit A to Brief, # 3 Exhibit B to Brief, # 4 Exhibit C to Brief, # 5 Exhibit D
                          to Brief) (Techau, Stephanie) (Entered: 10/20/2021)
      10/25/2021   12     MOTION for Leave to Appear Pro Hac Vice for Attorney Tal J. Lifshitz ( Pro
                          Hac Vice Fee $ 100 receipt number AIANDC−3555536) by Plaintiff South
                          Broward Hospital District (Attachments: # 1 Exhibit Certificate of Good
                          Standing) (Lifshitz, Tal) (Entered: 10/25/2021)
      10/26/2021   13     *TEXT ORDER ONLY* granting 12 MOTION for Leave to Appear Pro Hac
                          Vice for Attorney Tal J. Lifshitz (Pro Hac Vice Fee $100 receipt number
                          AIANDC−3555536): Upon review of the motion and certificate of good
                          standing, the court finds the motion should be granted. It is so ordered that
                          Attorney Tal J Lifshitz is authorized to appear on behalf of Plaintiff South
                          Broward Hospital District. Signed by Clerk on 10/26/2021. (pac) (Entered:
                          10/26/2021)
      11/03/2021   14     RESISTANCE to Motion re 11 MOTION to Transfer Self Insured Services
                          Company's Motion to Quash to the Southern District of Florida re 1 MOTION
                          to Quash filed by Self Insured Services Company. (Attachments: # 1 Brief Brief
                          in Support of Resistance, # 2 Exhibit A, # 3 Exhibit B) (Wolle, Thomas)
                          (Entered: 11/03/2021)
      11/10/2021   15     REPLY BRIEF to re 11 MOTION to Transfer Self Insured Services Company's
                          Motion to Quash to the Southern District of Florida re 1 MOTION to Quash
                          filed by South Broward Hospital District. (Techau, Stephanie) (Entered:

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                          11/10/2021)
      12/07/2021   16     ORDER granting 11 Motion to Transfer the 1 Motion to Quash: This case is
                          transferred to the Southern District of Florida. Signed by Chief Magistrate
                          Judge Kelly K.E. Mahoney on 12/7/2021. (jjh) (Additional attachment(s) added
                          on 12/7/2021: # 1 Transfer Receipt) (skm). (Entered: 12/07/2021)
      12/07/2021          ***Civil Case Transferred to Southern District of Florida pursuant to 16 Order.
                          (jjh) (Entered: 12/07/2021)
      12/10/2021   17     NOTICE of Appeal as to 16 Order on Motion for Miscellaneous Relief, by Self
                          Insured Services Company. Filing fee $ 505, receipt number
                          AIANDC−3582336. (Wolle, Thomas) (Entered: 12/10/2021)
      12/10/2021   18     NOA Supplement and Transmission of Notice of Appeal to US Court of
                          Appeals re 17 Notice of Appeal. Case Number due by 12/14/2021. (jjh)
                          (Entered: 12/10/2021)




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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

     SOUTH BROWARD HOSPITAL
     DISTRICT, d/b/a Memorial Healthcare
     System,

                   Plaintiff,                                 No. 21-MC-5-KEM

     vs.                                                           ORDER

     ELAP SERVICES, LLC; and GROUP &
     PENSION ADMINISTRATORS INC.,

                   Defendant.

     SELF INSURED SERVICES CO.,

                  Interested Party.

                                ___________________________

           Currently pending before the court are a motion to quash a subpoena (Doc. 1) and
    a motion to transfer the motion to quash to the district where the underlying litigation is
    pending (Doc. 11). Because I find exceptional circumstances for transfer exist, the
    motion to transfer is granted.
           Plaintiff South Broward Hospital District initiated the underlying putative class
    action against Defendants Elap Services, LLC, and Group & Pension Administrators,
    Inc. (GPA), in the Southern District of Florida. The amended complaint alleges that
    Defendant Elap administers employers’ self-funded health insurance plans and
    purposefully underpays hospitals for services through an arbitrary system called
    reference-based pricing. Doc. 1-2. The complaint further alleges that Defendant Elap
    conceals this reimbursement scheme from hospitals until after the hospital has already
    provided services by including the logo for Defendant GPA on the Elap health insurance
    cards, rather than the logo for Elap. Id. In this way, the hospitals believe they will be


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    paid at the GPA contracted rate and therefore provide services. Id. The Hospital brings
    claims of violation of the Florida Deceptive and Unfair Trade Practices Act and unjust
    enrichment. Id.
             The Hospital served a subpoena on nonparty Self Insured Services Company
    (SISCO), a medical claims administrator for Elap located in Iowa.              The subpoena
    requested that Self Insured Services Company produce:
          1. A Report (or Reports) identifying all data points on the UB-04, the electronic
             claims’ files (EDI 837), and the electronic remittance advises (EDI 835) for . . .
             each of the Claims.
          2. Documents explaining abbreviations or codes for any data points listed on a Report
             (or Reports) responsive to Request No. 1, above.

    Doc. 1-3 at 8. The subpoena listed the place of compliance as Miami, Florida, which is
    “not within 100 miles of where [SISCO] resides, is employed, or regularly transacts
    business in person,” as required by Federal Rule of Civil Procedure 45(c)(2). SISCO
    moved to quash the subpoena in this court, based in part on the violation of the 100-mile
    rule. A party may move to quash a subpoena in “the court for the district where
    compliance is required.”1 Even though the subpoena here lists the place of compliance
    as Florida, a court has jurisdiction over a motion to quash a subpoena “if it is the court
    in the district within 100 miles of where the nonparty resides, works, or regularly
    transacts business.”2 Accordingly, SISCO appropriately moved to quash the subpoena
    in the Northern District of Iowa.3


    1
        Fed. R. Civ. P. 45(d)(3).
    2
     Jeffcoat Enterprises, Inc. v. Charter Commc’ns, Inc., No. 4:20-MC-00112-AGF, 2020 WL
    2104732, at *2 & n.1 (E.D. Mo. May 1, 2020) (collecting cases) (also recognizing that some
    courts have held that “‘the place of compliance’ is the location identified on the subpoena for
    where the documents should be produced”).
    3
      The Hospital argues that the subpoena does not violate the 100-mile rule because the Hospital
    seeks only e-discovery and does not require any documents be produced in Florida. This is not
    clear from the face of the subpoena. Nevertheless, the violation of the 100-mile rule does not
    necessarily require quashing the subpoena, as the subpoena could be modified instead so that
    “the place of compliance” is in Iowa. See Yukos Cap. S.A.R.L. v. Feldman, No. 15-CV-
                                                  2
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           The Hospital moved to transfer resolution of the motion to quash to the court
    where the underlying litigation is pending (the Southern District of Florida). Doc. 11.
    From that court’s docket, it appears that court is familiar with the claims and issues in
    this case, as it has already had to rule on multiple discovery disputes between the parties.
    In addition, the Hospital served identical subpoenas on other third-party administrators,
    and similar motions to quash are pending in other federal district courts. See 21-mc-677-
    HCN-JCB (D. Utah); 21-mc-2663-KAM-TAM (E.D.N.Y.); 21-cv-4929 (N.D. Ill.); 21-
    mc-9 (D. Mont.). Motions to transfer to the Southern District of Florida are pending in
    all four of these cases. The Illinois court has noted “it might make a great deal of sense
    to transfer this motion to . . . the Southern District of Florida” as it will have a “better
    handle on the discoverability of the information and records sought . . . [a]nd with remote
    appearances now common-place and cost-effective, typically there is no downside
    involved in litigating the dispute in the issuing court.” Doc. 10, No. 21-cv-4929.
           Federal Rule of Civil Procedure 45(f) provides:
           When the court where compliance is required did not issue the subpoena, it
           may transfer a motion under this rule to the issuing court if the person
           subject to the subpoena consents or if the court finds exceptional
           circumstances. Then, if the attorney for a person subject to a subpoena is
           authorized to practice in the court where the motion was made, the attorney
           may file papers and appear on the motion as an officer of the issuing court.
           To enforce its order, the issuing court may transfer the order to the court
           where the motion was made.

    The advisory committee notes explain:
           In the absence of consent, the court may transfer in exceptional
           circumstances, and the proponent of transfer bears the burden of showing
           that such circumstances are present. The prime concern should be avoiding
           burdens on local nonparties subject to subpoenas, and it should not be
           assumed that the issuing court is in a superior position to resolve subpoena-
           related motions. In some circumstances, however, transfer may be
           warranted in order to avoid disrupting the issuing court’s management of

    4964(LAK), 2016 WL 3181151, at *3 & n.11 (S.D.N.Y. June 3, 2016) (modifying “place of
    compliance” in subpoena that did not comply with 100-mile rule, rather than quashing subpoena).
                                                  3
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             the underlying litigation, as when that court has already ruled on issues
             presented by the motion or the same issues are likely to arise in discovery
             in many districts. Transfer is appropriate only if such interests outweigh
             the interests of the nonparty served with the subpoena in obtaining local
             resolution of the motion.4
    Here, as similar motions to quash are pending in multiple federal district courts, I find
    exceptional circumstances exist to transfer the motion to quash to the Southern District
    of Florida.
             SISCO resists transfer, arguing that the existence of a report is distinct to each
    subpoenaed party. But in the motion to quash, SISCO also argues that it should not have
    to create or prepare a report; similar arguments are raised in each of the motions to quash
    pending in other districts. In addition, SISCO and the other subpoenaed third-party
    administrators argue that the Hospital seeks irrelevant personal health information that
    confidentiality concerns and the Health Insurance Portability and Accountability Act
    (HIPPA) mandate they should not have to produce. As the Hospital notes, the motions
    to quash pending in this case, Illinois, New York, and Montana are nearly identical.
    Accordingly, the motions to quash are better addressed by one court, and in the interest
    of judicial economy and consistent rulings, I find transfer is warranted.5
             The motion to transfer (Doc. 11) is granted, and this case should be transferred
    to the Southern District of Florida.
             SO ORDERED on December 7, 2021.



                                                       Kelly K.E. Mahoney
                                                       Chief United States Magistrate Judge
                                                       Northern District of Iowa

    4
        Fed. R. Civ. P. 45(f), advisory committee notes to the 2013 amendment.
    5
     See Leon v. N. Nat'l Gas Co., No. 21-MC-0042 (WMW/ECW), 2021 WL 4452874, at *4 (D.
    Minn. Sept. 29, 2021) (transferring motion to quash based on potential for inconsistent rulings
    when similar discovery requests and motions to quash were made in other districts); United
    States v. Gilead Scis., Inc., No. 21-MC-09005-SRB, 2021 WL 619761, at *2 (W.D. Mo. Feb.
    17, 2021) (same)
                                                  4
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Sarah Melvin

From:               InterDistrictTransfer_IAND
Sent:               Tuesday, December 7, 2021 12:22 PM
To:                 Sarah Melvin
Subject:            FW: Transferred case has been opened




‐‐‐‐‐Original Message‐‐‐‐‐
From: cmecfautosender@flsd.uscourts.gov <cmecfautosender@flsd.uscourts.gov>
Sent: Tuesday, December 7, 2021 11:30 AM
To: InterDistrictTransfer_IAND <InterDistrictTransfer_iand@iand.uscourts.gov>
Subject: Transferred case has been opened



CASE: 1:21‐mc‐00005

DETAILS: Case transferred from Iowa Northern has been opened in Southern District of Florida as case 0:21‐mc‐62463,
filed 12/07/2021.




                                                           1
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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF IOWA
                                    CEDAR RAPIDS DIVISION

                                             :
    In re Subpoena of South Broward Hospital :           Case No. 21-MC-0005-KEM
    District Issued to Self Insured Services :
    Company                                  :
                                             :

                                         NOTICE OF APPEAL

             Self Insured Services Company appeals to the United States Court of Appeals for the 8th

    Circuit from the District Court’s Order dated December 7, 2021, granting the Motion to Transfer

    Venue.

                                                         Respectfully submitted,

                                                         DEVINE TIMONEY LAW GROUP




                                                         _______________________________
                                                         Patrick C. Timoney, Esq.
                                                         Dean H. Malik, Esq.


                                                         SIMMONS PERRINE MOYER BERGMAN PLC


                                                         By:         ______________
                                                         Thomas D. Wolle AT0008564

                                                         ATTORNEYS FOR SELF INSURED
                                                         SERVICES COMPANY




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                                      CERTIFICATE OF SERVICE

           I hereby certify that on December 10, 2021, I electronically filed the foregoing with the Clerk

    of the Court using the ECF system which will send notification of such filing to the following:


           Nyemaster Goode, P.C.
           Stephanie G. Techau
           sgtechau@nyemaster.com
           Ethan S. Olson
           eolson@nyemaster.com

           Kozyak Tropin & Throckmorton LLP
           Tal J. Lifshitz
           tjl@kttlaw.com



                                                       ____________________________________




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                                     11 Date Filed: 12/27/2021        December
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          The Clerk of Court must email a copy of this Motion to:

          Kozyak Tropin Throckmorton
          Benjamin Jacobs Widlanski
          bwidlanksi@kttlaw.com
          Eric Samuel Kay
          ekay@kttlaw.com
          Frank Anthony Florio
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                                 OF APPEALS   —FLSD Docket
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                                                       CIRCUIT
                                 NOA SUPPLEMENT

    Please note any additions or deletions to the style of the case from the style listed on the docket
    sheet (or attach an amended docket sheet with the final style of case)

    CASE NO.                                CASE TITLE
     21-MC-5-KEM                             South Broward Hospital District v. ELAP Services, et al.

     Length of Trial:      N/A
     Financial Status: Fee paid?            Yes:      ✔   No:

     If NO, has IFP been granted?           Yes:          No:

     Is there a pending motion for IFP?     Yes:          No:

     Any other pending post-                Yes:          No:     ✔
     judgment motions?
     Local interest in case?                Yes:          No:     ✔
     Simultaneous release                   Yes:          No:     ✔
     recommended?


    Identify the court reporter: If NO court reporter please check here:           ✔
     Court Reporter                       Proceeding                                       Telephone




    Are any parties to this action incarcerated:                Yes:            No:    ✔
                            If yes, indicate which:             Plaintiff:      Defendant:


    List all other defendants in this case if there were multiple defendants




    Special Comments:




    Please return files and documents to:                       Contact Person:
    U.S. District Clerk - Northern District of Iowa                    Jill Hawkins

    111 7th
    4200    AvenueSW
         C Street  SE, BoxB12, Cedar Rapids, IA 52401
                     Bldg                                                319-286-2318
                                                                         Cedar Rapids, IA 52404

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                   EXHIBIT B




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     MIME−Version:1.0
     From:cmecfautosender@flsd.uscourts.gov
     To:flsd_cmecf_notice
     Message−Id:21727949@flsd.uscourts.gov
     Subject:Activity in Case 0:21−mc−62463 South Broward Hospital District v. ELAP Services,
     LLC et al Case Transferred In − District Transfer
     Content−Type: text/html

                                                 U.S. District Court

                                             Southern District of Florida

     Notice of Electronic Filing


     The following transaction was entered on 12/7/2021 at 12:30 PM EST and filed on 12/7/2021

                                   South Broward Hospital District v. ELAP Services,
      Case Name:
                                   LLC et al
      Case Number:                 0:21−mc−62463
      Filer:
      Document Number:             16
     Docket Text:
      Case transferred in from Iowa Northern; Case Number 1:21−mc−00005. Electronic file
     including transfer order and docket sheet received. .(bb).


     0:21−mc−62463 Notice has been electronically mailed to:

     0:21−mc−62463 Notice has not been delivered electronically to those listed below and will be provided
     by other means. For further assistance, please contact our Help Desk at 1−888−318−2260.:

     The following document(s) are associated with this transaction:




      Appellate Case: 21-3831           Page: 30       Date Filed: 12/27/2021 Entry ID: 5111616
